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FAZZIO LAW OFFICES
John P. Fazzio, Esq.
John J. Boulton, Esq.
5 Marine View Plaza, Ste. 218
Hoboken, NJ 07030
Tel: (201) 529-8024
Fax: (201) 529-8011
Attorneys for Defendant, Salem County Hospital
Corporation d/b/a Salem Medical Center

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


RESTORIX HEALTH, INC.,             Case No. 1:22-cv-02712-RBK-AMD

                                   CONSENT ORDER FOR EXTENSTION
Plaintiff,                         OF TIME TO ANSWER, MOVE, OR
                                   OTHERWISE REPLY
v.                                 [Local Civil Rule 6.1(b)]

SALEM COUNTY HOSPITAL
CORPORATION d/b/a SALEM
MEDICAL CENTER,

Defendants.


     Application is hereby made via consent for counsel for a
Clerk’s Order extending time within which defendant(s), Salem
County Hospital Corporation d/b/a Salem Medical Center may answer,
move, or otherwise reply to the Complaint and Motion for Writ of
Replevin filed by Plaintiff, Restorix Health, Inc. herein and it
is represented that:

     1.    No previous extension has been obtained;
     2.    Service of Process was effected on May 25, 2022;
     3.    Defendant’s Time to Answer, Move, or otherwise Reply
           expires on June 27, 2022;
     4.    The Motion for Writ of Replevin is adjourned to August
           1, 2022 and Defendant’s Time to Oppose, Move, or
           otherwise Reply to Motion for Writ of Replevin expires
           on July 18, 2022.
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Epstein Becker & Green, P.C.                   FAZZIO LAW OFFICES




_________________________                      /s/ John P. Fazzio
Christopher M. Farella, Esq.                   John P. Fazzio, Esq.
Attorneys for Plaintiff                        Attorneys for Defendant


                                   ORDER

     The above application is ORDERED GRANTED. Defendant(s) time
to answer, move or otherwise reply to the Complaint is extended
to _____________. Defendant(s) time to answer, move or otherwise
reply to the Motion for Writ of Replevin is extended to
_____________.
ORDER DATED: _______________

                                           WILLIAM T. WALSH, Clerk
                                           By:_________________________
                                                Deputy Clerk
